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                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                          :
                                                                  :
                     v.                                           :          Case No. 21-CR-175 (TJK)
                                                                  :
ETHAN NORDEAN, et al.,                                            :
                                                                  :
                                Defendants.                       :

        GOVERNMENT’S OPPOSITION TO NORDEAN’S AND TARRIO’S OMNIBUS
        MOTIONS IN LIMINE TO EXCLUDE PROPOSED GOVERNMENT EXHIBITS


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    GOVERNMENT’S OPPOSITION TO NORDEAN’S AND TARRIO’S OMNIBUS
    MOTIONS IN LIMINE TO EXCLUDE PROPOSED GOVERNMENT EXHIBITS

       On October 14, 2022, Nordean and Tarrio each filed a motion in limine to exclude proposed

government exhibits. See ECF Nos. 489, 491. As explained in further detail below, those motions

should be denied in their entirety.

                                       BACKGROUND

       On July 6, 2022, the Court entered a scheduling order to govern the exchange of

information and court filings in the lead-up to the December 12, 2022, trial. ECF 426 (“Scheduling

Order”). That order contemplated the government providing a preliminary exhibit and witness list,

along with exemplar summary exhibits, on August 19, 2022—nearly four full months prior to trial.

Id. at 1. The government provided the materials in accordance with the Scheduling Order, leaving

ample time for the parties to resolve any concerns about the manner in which the government

proposed introducing the evidence at trial. See Exhibit 1 (email to defense counsel); Exhibit 2

(partially redacted version of August preliminary exhibit list). Among the materials provided in

August 2022 was a preliminary version of many exhibits Nordean now complains about. See ECF

489 at 4-5 (bullets 9 and 10); Ex. 2 at 3, 15, 18. The August preliminary exhibit list included

several items of physical evidence, along with a number of open-source videos. Id. at 1-2, 12-15.

As part of the August 19 production, the government provided a draft PowerPoint exhibit

summarizing financial transactions tied to Nordean. Id. at 17.




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       Between August 19 and October 1, 2022—the day after the government provided its

second preliminary exhibit and witness lists—the government received no substantive engagement

from counsel for any defendant regarding the materials it provided in August. 1

       On September 30, 2022, the government provided updated draft witness and exhibit lists.

The government also provided, as the Scheduling Order directed, copies of the listed exhibits via

an electronic data transfer site. Among the items the government provided were copies of closed-

circuit security footage (“CCTV”) and body-worn camera (“BWC”) videos. Nordean complains

that the “U.S. Capitol Police CCTV and Body Worn Camera Video” series of the Exhibit List,

ECF 489-1 at 5, 8, lists only one time stamp, but he ignores that many of the BWC and CCTV

exhibits that the government provided are in fact the actual clips that the government intends to

introduce. For example, item “MPD BWC From MPD Officer Cynthia Rios, 2:52pm” on the

September Exhibit List, id. at 8, corresponds to a 4-second video clip showing Biggs and other

members of the Proud Boys walking through the Capitol around 2:52 p.m., carrying a stolen

American flag. 2 The CCTV series contains only videos that are clipped to the portion the

government intends to introduce. For example, the exhibit list contains an entry for “Camera 686

(3:11 p.m.))” Id. at 6. The corresponding video provided on September 30 bearing that file name




1
        Nordean states that on October 9, 2022, he “asked the government to clarify which portions
of certain exhibits it intends to introduce at trial.” ECF 489 at 3. This was the first substantive
communication we received from Nordean’s counsel on these issues, and he requested a response
by October 10, 2022, when motions were due on October 14.
2
        Of the eight BWC videos provided by the government as part of the September 30
exchange, six were either already clipped to the final exhibit length or contained both the full-
length version and a clipped version intended for introduction.



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is 1:46 in length and shows Nordean walking through the Capitol with another member of the

Proud Boys.

        As part of its production of exhibits pursuant to the Scheduling Order, the government also

provided Telegram and other message threads that it intends to use at trial. For those threads that

make up the bulk of the evidence underlying the indictment, and which the government has relied

upon throughout litigation in this case, the government produced excerpts (or “sub-exhibits”)

showing the messages it currently intends to introduce at trial. 3 Along with the sub-exhibits, the

government also provided full message threads (which are sometimes quite lengthy) to facilitate

any discussion or litigation that may arise pursuant to Fed. R. Evid. 106 (“Remainder of or Related

Writings or Recorded Statements”).

        The government also provided, on September 30, 2022, several “composite” video exhibits

that contain videos from January 6, 2021. (The Court will recall that, during a status conference in

advance of the previous trial date, defense counsel expressed concern about the form such

composite exhibits might take.) In addition to the montage videos about which Nordean complains,

ECF 489 at 4, bullet 3, the government provided many additional draft composite exhibits that

focus on specific time periods from January 6, 2021. See ECF 489-1 at 23 (exhibit list category of

“Assembled Videos and Photographs”). Those draft composite exhibits include excerpts that the




3
         The government, in creating sub-exhibits, prioritized those chats that have provided the
most evidence relied upon by the government so far, providing sub-exhibits for all of the
permutations of the Ministry of Self-Defense chats and the Boots on Ground chat. It has not yet
provided sub-exhibits for all chats. The September 30 Exhibit list is, of course, still a “preliminary”
one pursuant to the scheduling order. The government will therefore continue to refine these sub-
exhibits, as well as its exhibit list as a whole and those exhibits provided so far. Still, those excerpts
already provided gave the defense enough information to meet and confer with the government
and/or file specific motions in limine regarding the chats the government views as most important
to its case. The defense chose to do neither.


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government intends to use at trial from, among other sources, the open-source videos about which

Nordean complains. ECF 489 at 4, bullet 3. The government also provided the specific videos that

it intends to introduce from phones seized from Paul Rae, Nicholas Ochs, Christopher Worrell,

Anthony Mariotto, and others. See id. at 4, bullet 2. Nordean has raised no arguments about those

specific composite exhibits.

        On October 14, 2022, Nordean filed his instant motion, arguing, among other things, that

the government’s productions were too vague to allow him to file motions in limine. For the

reasons stated below, his motion should be denied.

                                           ARGUMENT

   I.      Legal Principles

        Relevant evidence is admissible, Fed. R. Evid. 402, and evidence is relevant if “(a) it has

any tendency to make a fact more or less probable than it would be without the evidence; and (b)

the fact is of consequence in determining the action.” Fed. R. Evid. 401.

        Relevant evidence may only be excluded if its “probative value is substantially

outweighed” by countervailing factors such as “unfair prejudice, confusing the issues or

misleading the jury.” Fed. R. Evid. 403 (emphasis added). This rule “establishes a high barrier to

justify the exclusion of relevant evidence, by requiring that its probative value must be

‘substantially’ outweighed by considerations such as ‘unfair’ prejudice.” United States v. Lieu,

963 F.3d 122, 128 (D.C. Cir. 2020). “Rule 403 does not bar powerful, or even prejudicial evidence.

Instead, the Rule focuses on the danger of unfair prejudice, and gives the court discretion to

exclude evidence only if that danger substantially outweigh[s] the evidence’s probative value.”

United States v. Pettiford, 517 F.3d 584, 590 (D.C. Cir. 2008) (emphasis in original) (cleaned up).

In this analysis, “it is a sound rule that the balance should generally be struck in favor of admission

when the evidence indicates a close relationship to the event charged.” United States v. Moore,


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732 F.2d 983, 989 (D.C. Cir. 1984) (quoting United States v. Day, 591 F.2d 861, 878 (D.C. Cir.

1978)) (emphasis in original) (cleaned up); see also Roberson, 581 F. Supp. 3d at 76 (“Rule

403 does not countenance exclusion of evidence because it too effectively suggests that the

defendant committed the charged crime.”).

       Federal Rule of Evidence 404(b) provides that evidence of “other crimes, wrongs, or acts”

is not admissible to prove a defendant’s character, but is admissible for any non-propensity

purpose, including motive, intent, plan, knowledge, and absence of mistake. See United States v.

Bowie, 232 F.3d 923, 926, 930 (D.C. Cir. 2000) (citing Fed. R. Evid. 404(b)). Rule 404(b)(2)(A)

requires that the government must, before trial, provide “reasonable notice of the general nature of

any such evidence that the prosecutor intends to offer at trial.” Rule 404(b) is a rule of “inclusion

rather than exclusion.” Bowie, 232 F.3d at 929. Specifically, “[a]lthough the first sentence of Rule

404(b) is ‘framed restrictively,’ the rule itself ‘is quite permissive,’ prohibiting the admission of

‘other crimes’ evidence ‘in but one circumstance’ — for the purpose of proving that a person’s

actions conformed to his character.” Id. at 929-30 (quoting United States v. Crowder, 141 F.3d

1202, 1206 (D.C. Cir. 1998) (en banc)); accord United States v. Cassell, 292 F.3d 788, 792 (D.C.

Cir. 2002) (“[A]ny purpose for which bad-acts evidence is introduced is a proper purpose so long

as the evidence is not offered solely to prove character”) (quoting United States v. Miller, 895 F.2d

1431, 1436 (D.C. Cir. 1990)) (emphasis in original)).

       There is a two-pronged test for determining whether evidence of prior crimes is admissible

under Rule 404(b). First, the evidence must be “probative of a material issue other than character.”

Miller, 895 F.2d at 1435 (citation omitted). Second, the evidence is subject to the balancing test of

Federal Rule of Evidence 403, which, as discussed, renders it inadmissible only if the prejudicial

effect of admitting the evidence “substantially outweighs” its probative value. Id.




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   II.      Evidence of the Defendants’ Affiliation with the Proud Boys is Admissible

         Nordean and Tarrio argue that Rules 401, 403, 404, and the First Amendment prohibit the

government from introducing evidence of their affiliation with the Proud Boys. See ECF 489 at 6-

12; ECF 491 at 5. This argument fails: The defendants’ affiliation with the Proud Boys is highly

relevant to issues including the formation of the conspiracy, the defendants’ knowledge and intent,

the structure of the conspiracy, and the reason hundreds of men followed the defendants’ lead onto

Capitol grounds on January 6, 2021. The probative value of the associational evidence vastly

outweighs whatever prejudice may attach to the defendants’ membership in the group.

         The defendants’ affiliation with the Proud Boys is not the type of evidence subject to Fed.

R. Evid. 404(b). That Rule does not apply to evidence unless the evidence “lack[s] any purpose

but proving character.” Bowie, 232 F.3d at 930. Here, the defendants’ relationships with one

another by virtue of their membership in the Proud Boys provide critical context for the size, scale,

manner, and means of the conspiracy.

         A. Rule 404 Does Not Preclude Evidence About the Proud Boys.

         The Third Superseding Indictment (“TSI”) alleges that the charged conspiracy offenses

involved manner and means including “[e]ncouraging members of the Proud Boys and others to

attend the Stop the Steal protest in Washington, D.C.” and “[d]ressing ‘incognito’ on January 6,

rather than wearing Proud Boys colors.” TSI, ECF 380 ¶¶ 28.a, 28.d. The charged overt acts in

furtherance of the conspiracy likewise show that the Proud Boys’ organizational structure,

including the special “Ministry of Self-Defense” (MOSD) sub-group, was central to the operation

of the conspiracy. Tarrio formed MOSD immediately after the announcement of the “wild” rally

on January 6; he and the other leader defendants drew exclusively upon Proud Boys members for

its recruits; they used their status as senior Proud Boys leaders to establish a command structure,




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and then they used that command structure to assemble their subordinates in Washington, D.C.

and bring them to the Capitol.

       Throughout the day’s events, the defendants showed that they viewed their actions as

integrally connected with their status as Proud Boys. Nordean, addressing the crowd, made

exhortations like “back the yellow.” Biggs, shouting through a megaphone, told them to be “loud

and motherfucking Proud Boy proud.” The conspirators also frequently flashed the Proud Boys’

hand sign, including after critical moments like Pezzola’s robbery of the shield and the successful

attack on outnumbered officers guarding the steps to the building:




       Accordingly, under any interpretation of the rules, the defendants’ membership in the

Proud Boys is non-propensity evidence of the conspiracies charged, and thus not subject to analysis

under Rule 404(b). See McGill, 801 F.3d at 879; see also United States v. Mahdi, 598 F.3d 883,

891 (D.C. Cir. 2010). The Court has already found as much, explaining that Nordean’s and Biggs’s

membership and stature within the group was “relevant to the nature and circumstances of the

offense insofar as they show that the defendants were leaders and shared a pre-existing common

bond which provides context to explain how these individuals, from disparate parts of the country,

are at least alleged to have wound up together in Washington, D.C.” on January 6th. ECF 71




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(transcript of 4/19/21 ruling on Nordean and Biggs detention, hereinafter “Detention Ruling”) at

16.

      The defendants’ attendance and leadership at past rallies is also relevant to their intent in

forming the charged conspiracy and their knowledge of its unlawful aims. Each of the defendants

had either been present at or discussed prior rallies where the Proud Boys used violent force in

pursuit of an objective. For example, with the exception of Pezzola, they were all participants in

the MOSD Leaders Telegram chat, where they ruminated over having abstained from using force

against the police in Washington, D.C. in December 2020. The discussion, which immediately

followed reports of clashes between police and Proud Boys at a rally in Oregon, took place on

January 1, 2021, and is excerpted below:

  Person-2           Our disposition towards the police needs to be reevaluated
  Person-3           Not sure what to do about it thought because it would be an escalation that
                     we would never be able to back away from
  Person-2           I see it as an inevitability.
  Person-3           Very true. I’m ready for the escalation but i worry about some of our guys.
  Person-2           We can/should start adopting black bloc style tactics. Not necessarily all
                     black like Antifa, but we should make an effort to hide our identities when
                     in public
  Person-3           We could have ran them the fuck over in DC and they wouldn’t have been
                     able to do shit
  Person-2           We absolutely could have.
  …                  …
  Tarrio             I had a plan for it... But someone talked me out of it
  Person-2           Masks, standardized attire, etc. Same thing black bloc does to make
                     individual identification as difficult as possible.
  Person-3           Wasn’t me. I had 150 pissed off PB that just got maced. It took all i had
                     with [name redacted]’s help to calm them
  Biggs              Yeah. We could have
  Bertino            [Name Redacted] kept telling me to give the order to push through them.
                     Lol
  Bertino            He was wild. Lol
  Biggs              I wanna fuck shit up
  Bertino            I should go to BLM plaza and stab 4 people and see what happens to me
  Bertino            Think I would be out on $550 bail in 26 hours?




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  Person-3          It’s coming to it. I mean how much longer are we going to let this shit
                    continue.
  Bertino           #fucktheblue
  Person-3          Agree, they chose their fucking side so let's get this done.
  Tarrio            Lol I was the one that told him to
  Biggs             I’m ready to just be the Zamboni
  Biggs             And roll over mother fuckers
  Bertino           And I was trying to get him to chill cause I figured you wouldn’t want us
                    to do that lo.
       The discussion above shows that that the conspirators refrained from using sufficient force

on a prior occasion and regretted that decision. A jury may rightfully draw the inference that the

MOSD leadership understood that Tarrio—the undisputed leader of the group—approved of

violence in future confrontations with police in Washington, D.C. These facts are not “other

crime[s], wrong[s], or act[s],” but are instead directly probative of whether there was an agreement

to use force on January 6, a key issue in the case. “[D]irect evidence of a fact in issue will, by

definition, always satisfy Rule 404(b).” Mahdi, 598 F.3d at 891 (cleaned up, quoting United States

v. Alexander, 331 F.3d 116, 125-26 & n.13 (D.C. Cir. 2003))).

       Indeed, it is precisely because affiliation evidence is so relevant in conspiracy cases that

the federal circuits are nearly uniform in allowing the government wide latitude to present it.

Nordean cites to some cases in the gang context, but the overwhelming majority of cases regarding

gang affiliation do not help him because “[e]vidence of gang affiliation is admissible in cases in

which it is relevant to demonstrate the existence of a joint venture or conspiracy and a relationship

among its members’ and each defendant’s knowledge of and participation in the [charged]

conspiracy.” United States v. Castillo-Aguirre, 983 F.3d 927, 936 (7th Cir. 2020); see also, e.g.,

United States v. Shelledy, 961 F.3d 1014, 1020-21 (8th Cir. 2020) (“The government may elicit

testimony about the defendant’s social or gang membership if it is relevant to a disputed issue in

the case”); United States v. Ford, 761 F.3d 641, 649 (6th Cir. 2014) (“Evidence of gang affiliation




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is relevant where it demonstrates the relationship between people and that relationship is an issue

in the case, such as in a conspiracy case”). 4

       B. The First Amendment Does Not Preclude Evidence About the Proud Boys.

       Nor is there a valid First Amendment basis for excluding evidence about the Proud Boys.

Nordean’s reliance on two sentencing cases in support of his argument here, ECF 489 at 10-11, is

unpersuasive. In Dawson v. Delaware, 503 U.S. 159 (1992), the Supreme Court concluded that

“the Constitution does not erect a per se barrier to the admission of evidence concerning one’s

beliefs and associations at sentencing simply because those beliefs and associations are protected

by the First Amendment.” Id. at 165. In Dawson, the state introduced—at the penalty phase of a

death-penalty case in Delaware—the defendant’s membership in the Aryan Brotherhood prison

gang, along with a stipulation stating that the Aryan Brotherhood “refers to a white racist prison

gang that began in the 1960’s in California in response to other gangs of racial minorities.” The

stipulation was silent on the Delaware chapter. Id. at 162. The Court held that the stipulation was

inadmissible because, as a factual matter, it was so narrow that it did not relate to any issue at

sentencing beyond the defendant’s abstract beliefs and did not even illuminate what the Aryan




4
        The cases cited by Nordean, ECF 489 at 8-9, are not analogous to the facts here. In United
States v. Irvin, 87 F.3d 860, 864 (7th Cir. 1996), the probative value of gang membership in a non-
conspiracy drug case was greatly reduced by the lack of evidence that the gang was engaged in
selling drugs. United States v. Elkins concerned whether the government had laid the proper
foundation to impeach a defense witness for bias a result of the witness’ alleged membership in
the same gang as the defendant. 70 F.3d 81, 84 (10th Cir. 1995). United States v. Roark involved
the government presenting two DEA agents who acted as experts on the illegal activities of the
Hell’s Angels motorcycle gang, the trial court striking that testimony mid-trial after a Jencks issue
arose, and then instructing the jury to ignore the testimony. 924 F.2d 1426, 1430-34 (8th Cir.
1991). The Court there opined that the government’s trial strategy amounted to “guilt[] by
association.” Id. at 1434. By contrast, in this case, the defendants’ membership in the Proud Boys
is directly relevant to the conspiracy for the reasons stated above.



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Brotherhood gang in Delaware believed in any event. Id. at 166-67. 5 That is a far cry from this

case, where defendants, who were all members of the Proud Boys, associated with other members

of that group and conspired with each other, and with other hand-picked member, to prevent the

lawful transfer of Presidential power by force. Their associations with one another are relevant to

a conspiracy charge for the reasons outlined above.

       Nor is United States v. Lemon, 723 F.2d 922 (D.C. Cir. 1983), on point. Lemon concerned

whether a defendant could face a higher sentence as a result of mere membership in a group, not

whether affiliation evidence may be relevant in a conspiracy case. See id. at 937 (“[W]e discuss

finally the first amendment principles that govern the consideration of membership or affiliation

with such a group for the purpose of sentencing.”). Lemon was not charged with conspiracy, let

alone with a conspiracy that involved other members of the Black Hebrews, the group at issue in

that case. See id. at 924. Putting aside that these defendants are in fact charged in a conspiracy and

that the relevant question is whether their pre-existing affiliation with one another is relevant to

those charges — not whether that affiliation as such is an aggravating sentencing factor — the

government’ s evidence meets the test set out in Lemon: “there must be sufficiently reliable

evidence of the defendant’s connection to illegal activity within the [organization].” Id. at 941.

Here, the indictment alleges the fact that Nordean was involved in a conspiracy within the Proud

Boys up to and on January 6. Nordean may dispute that fact, and he is free to argue to the jury that

the government’s evidence does not prove a conspiracy, but nothing in the First Amendment

prevents the government from presenting that evidence to the jury.




5
        The Supreme Court went so far as to say that Dawson would have been a much different
case, had the government presented evidence in accord with its pretrial proffer—that the Aryan
Brotherhood “is a white racist prison gang that is associated with drugs and violent escape attempts
at prisons, and that advocates the murder of fellow inmates.” Id. at 165.


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           C. Rule 403 Does Not Preclude Evidence About the Proud Boys.

           Nordean makes no attempt to explain how the probative value of the defendants’ affiliation

in and position within the Proud Boys is “grossly outweighed by the dangers of unfair prejudice,

confusing the issues, and misleading the jury.” ECF 489 at 12. He instead relies on several news

articles that he claims show that the Proud Boys are “one of the most reviled” groups in the country.

Id. at 9-10, 12. But screening out jurors who may harbor unduly prejudicial biases against the

Proud Boys is one of the functions of voir dire, and the amount of negative press the Proud Boys

may or may not have received should not influence the Court’s relevance decision. 6 Whatever

infamy the Proud Boys may have, it pales in comparison to the types of gang-affiliation evidence

Courts have upheld, especially in conspiracy cases. See United States v. Machado-Erazo, 47 F.4th

721, 729-30 (D.C. Cir. 2022) (MS-13); United States v. Castillo-Aguirre, 983 F.3d 927, 936 (7th

Cir. 2020) (Sinaloa Cartel); United States v. Ford, 761 F.3d 641, 648-50 & n.5 (6th Cir. 2014)

(“Vice Lords” gang involving former members of the “Bloods”).

    III.      The Other Evidence Listed in the Government’s 404(b) Notice is Admissible

           Nordean moves to preclude categories of evidence identified in the government’s 404(b)

notice: (a) violent confrontations involving Proud Boys at a rally on December 12, 2020; (b)

Tarrio’s destruction of a #BLACKLIVESMATTER banner at that same rally; and (c) an incident

at the Oregon State Capitol. None of these objections has merit.




6
       Moreover, it must also be noted that these defendants proudly promoted their street fighting
and lawless conduct in the lead-up to January 6. It is the brand that these defendants established
and nurtured. This highlights the absurdity of defendants’ argument. We are not talking about a
Proud Boys member from Anytown, U.S.A. being associated with Nordean’s comments of
lawlessness, but rather Nordean’s own association with his own comments.


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       A. December 12 Rally

       The violence that occurred at the December 12 rally involving the Proud Boys is directly

relevant to the defendants’ intent in forming the charged conspiracy. That episode led directly to

the creation of MOSD, and it is undeniable evidence of the intent of those who joined MOSD. For

the reasons stated above, it is direct evidence of the conspiracy. The government’s evidence will

show that, following that rally, the defendants’ and other Proud Boys’ attitude towards the police

soured considerably on multiple fronts, but especially with respect to whether they believed the

police were on the side of “Antifa” and whether the Proud Boys believed that the police had

adequately investigated the violence that left members of the Proud Boys with knife wounds. See,

e.g., Statement of Offense, United States v. Jeremy Bertino, 22-cr-329 (TJK) at ¶ 9.

       This combative attitude towards police as January 6 approached was reflected in many

areas, but the exchange referred to above about the group’s “disposition towards the police”

needing to be re-evaluated is typical. Without evidence of the events of December 12, the jury

could not properly place that conversation—which took place during and in furtherance of the

conspiracy—and others like it into context. It must also be noted that Nordean’s personal

disposition towards the police was also affected by the events of December 12. Shortly after that

event, he made the following statement on his podcast while speaking to another MOSD leader:

       When I was in D.C. [on December 12], this “line,” [of officers] right, that they were
       putting up was like mostly females, right? About like 120-pound women. And I’m
       260 pounds, okay? And I’m a pretty big guy, and I’ve got J.B., I’ve got a lot of the
       guys – just monsters front line, right? And behind them is like 800 Proud Boys.
       And so they’re like “sorry sir, you’re not allowed to pass.” And I’m furious because
       I’ve got people over there – like there’s like two Proud Boys’ wives on the other
       side, just like 50 yards away from us. And we can see Antifa messing with them.
       And I’m like “I’m gonna storm this line if you don’t let me through there and get
       those people through.” So the Commander hears me and he’s like “Uh, yeah, I’ll
       walk you around. You can get them out.” And I’m like “yeah that was a good
       decision, man. Because, because I don’t wanna have to do that, but you’re putting
       me in a position as a leader with almost 1,000 people that I’m responsible for behind
       me…


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This exchange demonstrates how the events of December 12 shaped Nordean’s attitude toward

police as he prepared to return to Washington, D.C. on January 6. (It also is relevant to establish

Nordean’s leadership within the Proud Boys and his willingness to use his “1,000 people” to

overpower those who stood between him and his objective.)

       On January 6, Nordean again used the December rally and its aftermath as a call to arms:

       We got some guys last time we were here get stabbed. And the guy who was the
       stabber got let out. What was it? $500 bail or something like that? Enrique shows
       up and gets detained before he gets to D.C. and he’s charged with two felonies –
       multiple felonies. For what? We put ourselves on the line every goddamn time we
       come here. We put our lives and our safety and everything on the line and these
       people put us in jail. We’ll I’m tired of it. It’s time to just say no. Back the yellow.
       Back the yellow, gentlemen!

The events of December 12 are thus direct evidence underlying the formation of the conspiracy

and highly relevant to the defendants’ state of mind as they entered the conspiracy. But even if the

strictures of Rule 404(b) apply, the December 12 rally is admissible because it is offered for

reasons other than character—intent and state of mind.

       The D.C. Circuit has a well-developed body of case law permitting the introduction of

404(b) evidence at trial. Indeed, “[a]lthough the first sentence of Rule 404(b) is ‘framed

restrictively,’ the rule itself ‘is quite permissive,’ prohibiting the admission of ‘other crimes’

evidence ‘in but one circumstance’ — for the purpose of proving that a person’s actions conformed

to his character.” Bowie, 232 F.3d at 929, quoting Crowder, 141 F.3d at 1206. “In conspiracy

prosecutions, the prosecution is usually allowed considerable leeway in offering evidence of other

offenses ‘to inform the jury of the background of the conspiracy charged . . . and to help explain

to the jury how the illegal relationship between the participants in the crime developed.” Machado-

Erazo, 47 F.4th at 728 (cleaned up, citing United States Mathis, 216 F.3d 18, 26 (D.C. Cir. 2000)).

To paraphrase the D.C. Circuit in the drug context, Nordean’s prior experience of violence cannot




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alone prove that he was part of a violent conspiracy on January 6, but it is still a brick in the wall

of evidence needed to prove his intent and/or state of mind in joining the conspiracy. See Crowder,

141 F.3d at 1209 n.5.

       B. Black Lives Matter

       Nordean and Tarrio both object to the government’s introduction of Tarrio’s destruction of

a “Black Lives Matter” banner during the December rally. ECF No 489 at 22-23; ECF 491 at 4-6,

bullets 3, 4, 8, and 9. The crime—committed by Tarrio while surrounded by other members of the

Proud Boys at the rally discussed in the previous section, is relevant to the formation of the

conspiracy for all the reasons discussed just above. In addition, it is relevant because of how Tarrio,

as the leader of both the Proud Boys and MOSD, reacted to news coverage of the burning. He took

to his influential Parler account and posted the following message:

       Against the wishes of my attorney I am here today to admit that I am the person
       responsible for the burning of this sign. And I am not ashamed of what I did because
       I didn’t do it out of hate…I did it out of love. Love for a country that has given my
       family SO MUCH. The burning of this banner wasn’t about race religion or
       political ideology it was about a racist movement that has terrorized the citizens of
       this country. I will not sandby and watch them burn another city.

       So let me make this simple. I did it.

       Come get me if you feel like what I did was wrong. We’ll let the public decide.

       Forever PROUD

       -Enrique

In both taking credit for and celebrating his criminal activity, Tarrio sent the message to his

followers—who included Nordean, Biggs, Rehl, and Pezzola—that the unlawful use of force was

not only tolerated, but encouraged, if it was committed in furtherance of the Proud Boys’ aims.

       Concealing the fact of Tarrio’s arrest from the jury would also make it impossible to

understand much of the surrounding events, such as (1) a co-conspirator predicting that “We could




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have a fucking riot” if Proud Boys were caught off guard by the news; (2) Bertino stating that the

arrest could be “the shot heard round the world and the normies will fuck up the cops”; (3) Tarrio,

in anticipation of his absence on January 6, instructing Biggs: “Whatever happens… Make it a

spectacle”; and (4) Biggs and Nordean using the arrest as a rallying cry for the Proud Boys

marching group on January 6 (“After what they did to our boy Enrique, we’re gonna let D.C.

fucking know we’re goddamn here.”).

       Tarrio’s actions on December 12, and his subsequent arrest for them, are thus admissible

because they have a relevant non-character purpose, see, e.g., Bowie, 232 F.3d at 929-30, for

showing the formation and workings of the conspiracy, along with the motive, intent, and

knowledge of the conspirators. Any prejudice to Tarrio would be small given the disparity in

seriousness between the prior and charged offense. See United States v. Mahdi, 598 F.3d 883, 890-

91 (D.C. Cir. 2010) (finding that evidence of defendant threatening two victims with a knife was

not unfairly prejudicial in trial involving charges he shot nine people and stabbed and cudgeled

two others). Any prejudice that might result could be cured with a limiting instruction.

       C. Oregon Capitol

       Nordean objects to the admission of evidence relating to the unlawful breach of the Oregon

State Capitol, which occurred on or about December 21, 2020. ECF 489 at 23. The government’s

evidence with respect to that event will be limited to after-the-fact discussions about it among

members of the Proud Boys. For example, in the Official Presidents’ Chat, a large group of which

Nordean, Tarrio, and Rehl were members, one member asked if anyone was watching what was

going on in Oregon, and another responded, “I am, its awesome. The boomerwaffen has

mobilized!” Shortly thereafter, another member stated, “patriots stormed the statehouse . . . in

oregon . . . Its all boomers, larpers & pp,” and another user responded, “They still fucking did it .

. . We can’t talk shit when they backed they talk this time.”


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          The government does not intend to show video or photographic depictions of the events at

the Oregon Statehouse, nor will it attempt to connect those responsible for that attack to these

defendants or any other Proud Boys, and it is willing to work with the Court and defense to craft

an appropriately sanitized way to present the information. In that sense, the evidence about the

Oregon Capitol is not even truly 404(b) evidence, and the government would agree to a limiting

instruction if requested by the defense to minimize any prejudice to the defendants. The evidence

is thus appropriately limited to that which goes to knowledge and its effect on the listener—

knowledge among the conspirators that “normies” stormed the statehouse in Oregon on December

21, both showing that it was possible to do so and that members of the Official Presidents Chat

celebrated it. What narrow prejudice may exist based on the government’s limited presentation

can be appropriately cured through a limiting instruction. The evidence should thus be admitted. 7

    IV.      The Statements and Documents are Admissible

          A. Telegram Communications

          Nordean claims that the government has failed to provide “sufficient clarity” concerning

the Telegram messages and text that it intends to introduce at trial. ECF 489 at *15. This is

nonsense. The particular messages already identified as trial exhibits include the ones central to

the conspiracy, including:




7
        Nordean claims that the evidence should be excluded because the government’s notice is
deficient. ECF 489 at 7-8. The policy behind the Rule 404(b) notice requirement is “to reduce
surprise and promote early resolution on the issue of admissibility.” Fed. R. Evid. 404(b) advisory
committee's note to 1991 amendments; see also United States v. Carrasco, 381 F.3d 1237, 1241
(11th Cir. 2004). As noted above and in the letter the government sent, it does not regard Proud
Boys structure evidence as 404(b) evidence, but given that the policy is to promote early resolution
and reduce surprise, the government’s notice allowed the defendant to file the instant motion, and
he has had the information since February 2021. The evidence should not be excluded due to the
form of the notice.


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   1. MOSD Leaders (December 20, 2020), recovered from Tarrio phone
   2. MOSD Prospect Chat (December 27, 2020), recovered from Tarrio, Nordean, and Rae
      phones
   3. MOSD-OP (January 1, 2021), recovered from Tarrio phone
   4. MOSD Members Main (January 2, 2021), recovered from Tarrio phone
   5. MOSD Leaders (January 4, 2021), recovered from Nordean and Rehl phones
   6. Boots on Ground (January 5, 2021), recovered from Nordean phone

Instead of engaging in meaningful review and motions practice on any of these proposed exhibits,

the defendants seek to kick the can down the road by claiming that they are unable to identify the

portions of the voluminous messages that the government seeks to introduce.

       Nordean also argues that the government plans to “introduce hundreds” of Telegram

messages that “long predate the alleged conspiracy.” ECF 489 at 15. The relevance and

admissibility of these messages is explained in the government’s Statements Motion, ECF 475,

and in its Reply in support of that motion, ECF 512. The government adopts those arguments rather

than retreading them here.

       In support of his argument about inflammatory rhetoric, Nordean cites a January 6 case,

United States v. Hale-Cusanelli. See ECF 489 at 16-17 (citing D.D.C. no 1:21-cr-37 (TNM)).

Contrary to Defendant Nordean’s retelling, Hale-Cusanelli does not stand for the proposition that

“derogatory remarks” and “inflammatory political views” are inadmissible. Indeed, the court in

Hale-Cusanelli said just the opposite when it found that the defendant’s reprehensible calls for

civil war and revolution were “highly probative” of the defendant’s motive to act on January 6.

See Hale-Cusanelli, 1:21-cr-37 (TNM), ECF 82 (transcript of status conference) at 12. The court

explained that any prejudice created by the defendant’s views was not “unfair” prejudice even

though a jury might “react negatively”—the court explained that the “probative force of the[]

statements creates any prejudice resulting from them” and thus there was no “unfair” prejudice.

Id. at 12-13 (citing United States vs. Wilkins, 538 F.Supp.3d 49, 73 (D.D.C. 2021)).




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       The Hale-Cusanelli court did draw the line at the government’s attempt to introduce the

defendant’s antisemitic views as a means to explain why the defendant was interested in civil war;

i.e., the defendant sought to overturn the government because he believed it to be controlled by

Jews. Id. at 13:14 – 13:23. For that court, such an argument was simply a step too far because it

was “tangential” to the defendant’s desire to stop the election count. Id. As a result, Hale-

Cusanelli’s statements to others that he “would kill all the Jews and eat them for breakfast, lunch

and dinner, and he wouldn’t need to season them because the salt from their tears would make it

flavorful enough” failed the balancing test of Rule 403. Cusanelli, 21-cr-37, ECF 68 at 4.

       In this case, as the Court well knows, the defendants’ statements of intent are littered with

vulgarity and offensive language. See Detention Ruling, ECF 71 at 17. Any attempt to excise the

profanity from their statements would require mass redactions (including technologically

complicated redaction of audio and video files) and in many cases render their statements

practically unintelligible. Take for example the government’s evidence of video messages

exchanged among MOSD Leaders during the initial moments of the riot. The video is direct

evidence of the MOSD leadership’s command and control of the men they led to the Capitol and

includes real-time reactions from co-conspirator Charles Donohoe and directives from co-

conspirator Jeremy Bertino. The government can do little about the fact that the screen name

assigned to Charles Donohoe in the message string was “Cracker Ni**er Fa**ot”:




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So too with Biggs’ response to a celebrity’s calls for unity following the election, to which Biggs

responded publicly on social media, “No b*tch. This is war.” So too with Tarrio’s exchange with

a Proud Boys “elder” on January 6 at 2:38 p.m. in which the “elder” said, “I told you we should

have rushed the police line on the 12th...This could have been us but you’re a ni**er” to which

Tarrio responded, “This is so much better” and then “Make no mistake . . .” and then “we did this.”

The defendants’ relentless use of vulgarity in their conspiratorial conversations does not make

those discussions “unfairly prejudicial” — this is simply how these Proud Boys choose to speak

to one another. Profanity and epithets were such a common part of the conspirators’ vernacular

that removing all instances would leave the conversations so heavily redacted as to cause more

confusion, distraction, and harm than the language itself. 8



8
        The same analysis applies to incidental references to drug use throughout the
conversations, which Nordean wrongly conceives of as Rule 404(b) evidence. See ECF No. 489
at 23. According to their statements, the defendants and other Proud Boys occasionally consumed
illegal substances together and occasionally made references to being high or drunk. These
statements, at a minimum, demonstrate bonds and trust among the conspirators, and the statements
would lose their context without them. The government should not be forced to neuter otherwise-
relevant evidence because the defendants regret having made reference to drugs during their




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       B. Social Media

       Nordean takes issue with what he characterizes as the government’s efforts to introduce

“political posts,” and he suggests that the government’s introduction of any and all intent, motive,

and state of mind evidence are “exclusively designed to arouse the jury’s anger, emotion, and

partisan prejudice.” ECF 489 at 20. Not so.

       The government has a case to prove to a jury—a jury that will be qualified by this Court

and will swear to faithfully follow this Court’s instructions and apply the law as explained by this

Court. That case involves Nordean’s involvement in a conspiracy to use force to stop the lawful

transfer of power from former President Trump to current President Biden. The nature and strength

of the defendants’ conviction that they needed to stop Biden from becoming President is a central

question to be resolved by this impartial jury. Having committed crimes aimed at overturning an

election, Nordean cannot cry foul at the prospect that the government will present evidence of that

motive and intent.

       “[M]otive is a well-established non-propensity purpose for introducing evidence under

Rule 404(b).” See United States vs. McGill, 815 F.3d 846, 883 (D.C. Cir. 2016). Nordean’s social

media posts establish that motive. Nordean claims that his social media posts do not include

communications with his co-conspirators. Even if that were true, Nordean’s motive and intent as

he prepared to travel to Washington, D.C. on January 6 are central issues to be decided by the jury

as they assess, inter alia, whether Nordean entered into an agreement with the other defendants to

use force to oppose the peaceful transfer or power (18 U.S.C. § 2384) or corruptly obstructed the




conversations. Any prejudice to the defendants from such references would be infinitesimal — it
is unlikely that a jury would decide that, because Ethan Nordean liked to use cocaine, he entered
into a seditious conspiracy. Whatever de minimis prejudice there is can be cured with a limiting
instruction.


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electoral college certification (18 U.S.C. § 1512(c)(2)). Nordean’s public posts include calls to

“revolt” against the government and engage in “civil disobedience.” Such posts reveal important

context about Nordean’s intentions. 9 Moreover, Nordean’s public postings reflect an increasing

hostility toward the government and law enforcement. For example, on December 31, 2020—the

same day that Tarrio posted his “Lords of War” picture of Pezzola (TSI at ¶ 44)—Nordean posted

an image of himself and included text that read, “Back the YELLOW” and “Let them remember

the day they decided to make war with us.” On January 5, 2021, just hours after Tarrio’s arrest,

Nordean posted “It is apparent now more than ever, that if you are a patriot, you will be targeted

and they will come after you, funny thing is that they don’t realize is, is we are coming for them.

You’ve chosen your side, black and yellow teamed with red, white and blue against everyone

else.” Because these statements are clearly relevant to the charged conspiracy, the Court was right

to cite posts like these in support of its detention rulings in this case. See, e.g., Detention Ruling,

ECF 71 at 17-23 (quoting posts as early as 11/4/2020 by Nordean, Biggs, Rehl, and Tarrio, and

explaining that posts “shed light on the nature and circumstances of the offense.”).

       In addition, and contrary to Nordean’s proffer to this Court that public social media was

not a means of communication among the co-conspirators, all four of Nordean’s co-conspirators

charged in this case were followers of Nordean’s social media account. And Nordean reciprocally




9
        The defendants have made clear that they will attempt to argue that the Proud Boys’
objective for January 6 was simply peaceful protest. It is therefore important for the government
to be able to include Nordean’s November postings that called for “civil disobedience” in order to
demonstrate how Nordean’s postings tilted to the more ominous in the days before January 6.
Moreover, if the government is prohibited from using Nordean’s more benign postings concerning
unfair COVID regulations and the like, the defendants are likely to introduce such evidence
themselves and claim that the government attempted to hide such evidence from the jury. “[T]he
prosecution is entitled to prove its case by evidence of its own choice[.]” Old Chief v. United
States, 519 U.S. 172, 186 (1997). This includes the prosecution’s right to address potential
defenses in its case-in-chief.


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followed both Tarrio and Biggs. Accordingly, Nordean’s and his co-conspirators’ public postings

are relevant to the existence of the conspiracy. In fact, Nordean would tag Tarrio in his postings,

including pictures like the below, which was posted on December 29, 2020, that showed “me and

dad @noblelead on the front line” (along with Pezzola).




       As with defendants’ social media posts, the defendants’ statements during video podcasts

in the lead-up to January 6, 2021, are highly probative of the defendants’ motive and intent on

January 6, 2021. Indeed, just as with the social media postings, this Court found that the

defendants’ statements during video podcasts were probative of the detention consideration. See

Detention Ruling, ECF 71 at 19-20, 23 (describing statements made during video podcasts by

Nordean and Biggs). Among the statements that were specifically identified to counsel for

Nordean on October 22, 2022, were the following from “Rebel Talk with Rufio” Episodes 1 and

2, both of which featured guests who were leaders of the Ministry of Self Defense:


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•    After four years of literally having our whole, our rights taken away, and our li-
     lives just destroyed, and demolished, and our reputations torn apart, I really don’t
     care very much about the optics, because here’s the thing, no matter how you
     look at it, just like you were saying with fighting, it’s never going to look good
     or pretty. To get things done right, like you have to – the things that we are
     gonna have to do to get things back on track, if we can at all, is not going to
     be, you know, gum drops and rainbows, and freaking unicorns. It’s not
     gonna be handshakes and hugs, it’s gonna be freaking fists to the face and
     potentially, you know, even worse. REBEL TALK EPISODE 1 at 15:22
     (emphasis added).

•    …when I was in D.C., this “line,” right, that they were putting up was like
     mostly females, right? About like 120-pound women. And I’m 260 pounds,
     okay? And I’m a pretty big guy, and I’ve got J.B., I’ve got a lot of the guys
     – just monsters front line, right? And behind them is like 800 Proud Boys.
     And so they’re like “sorry sir, you’re not allowed to pass.” And I’m furious
     because I’ve got people over there – like there’s like two Proud Boys’ wives on
     the other side, just like 50 yards away from us. And we can see Antifa messing
     with them. And I’m like “I’m gonna storm this line if you don’t let me
     through there and get those people through.” So the Commander hears me
     and he’s like “Uh, yeah, I’ll walk you around. You can get them out.” And I’m
     like “yeah that was a good decision, man.” Id. at 23:20 (emphasis added).

•    [following discussion of negotiation to resolve conflict] Well the only thing left
     is force.[…] You know? And we’re trying, and that’s the thing. I don’t want to
     have to use force against the government. I don’t want to do that. Like I
     don’t think anyone really wants to, because the repercussions are just
     unknown. And you, you, you put yourself on the biggest fucking target list
     known to man. Nobody wants to do that. [GUEST: We’re not anti-
     government.] Right, but here’s the thing. We’ll replace you. We don’t care
     about … we care about law and order that much that we will assemble an
     army that will literally just replace you like that. We’ll just be like “I’ll take
     your badge. Shits mine now. You’re no longer sitting in office. You’re no
     longer the governor, this guy over here that we just voted in right now is.
     Goodbye.” And it will literally be like that. Id. at 27:46 (emphasis added).

•    When police officers go after criminals, they use force. Which is aka
     violence. Okay? So, when police officers or government officials are
     breaking the law, what are we supposed to do as the people? Discourse?
     What are we supposed to – debate? No, you have to use force. This is the
     organized militia part of our freaking constitution here. Um, this is
     something that we need to get back ingrained in our heads and desensitize our-
     ourselves from this stuff that we’ve been taught. That, you know, you never use
     violence. We’ll I’m sorry, that’s literally the foundation of every prominent
     country is force. REBEL TALK EPISODE 1 at 15:58 (emphasis added).




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   Even if the Court were to consider these statements 404(b), as opposed to non-hearsay co-

conspirator statements inextricably intertwined with the charged conduct, each of the foregoing

statements are highly probative of Nordean’s motive as he prepared to travel to Washington, D.C.

on January 6: not peaceful protest, but the use of force to stop the lawful transfer of power. There

is nothing “unfair” about their use, and they should be admitted.

       C. “1776 Returns “

       Nordean and Tarrio assert that the document “1776 Returns,” which was received by Tarrio

on December 29, 2020, is inadmissible under Rules 401, 402, and 403. See ECF 489 at 20-21; ECF

491 at 4. The defendants’ arguments are unavailing.

       The document is highly probative of the issues to be resolved by the jury, and the only

prejudice arising from the document is due to its close relationship to the facts charged. It is

properly admissible as evidence as to Tarrio’s intent, motive, and state of mind as he approached

January 6, 2021. This is relevant because, among the questions to be resolved by the factfinders in

this case, the jury will consider whether Tarrio and his selected men had entered into an agreement

to use force to stop the peaceful transfer of power on January 6. Tarrio’s receipt and reaction to

the 1776 Returns document is highly probative of Tarrio’s state of mind as January 6 approached,

e.g., a jury may properly conclude that Tarrio was not merely going to Washington, D.C. to see a

rally, but rather was discussing and considering how his assembled men might use force to stop

the peaceful transfer of power. Granted, the document differed on certain “details” — such as the

particular buildings on the Capitol campus to be invaded — but its “essential nature” was the same:

a plan to use force to prevent the transfer of power. See United States v. Gatling, 96 F.3d 1511,




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1518 (D.C. Cir. 1996) (explaining that a conspiracy is defined by its “essential nature,” not by “the

details”). 10

        Admission of the document is also necessary to give explanatory context to a conversation

between Tarrio and Bertino shortly after the riot. After Bertino posted messages in celebration that

read, “Brother. You know we made this happen” and then later, “1776 motherfuckers,” Tarrio

responded, “The Winter Palace.” Id. The first page of the 1776 Returns document references the

“Winter Palace” in describing the storming of buildings as a plan to “Storm the Winter Palace.”

ECF 401-1 at 1.

        Once established that the document is admissible and relevant as to Tarrio’s motive, intent,

and state of mind, the document is admissible against all defendants to prove the existence of the

conspiracy. United States v. Salameh, 152 F.3d 88, 111 (2d Cir. 1998) (“Where a defendant is a

member of a conspiracy, all the evidence admitted to prove that conspiracy, even evidence relating

to acts committed by co-defendants, is admissible against the defendant.”). In Salameh, the Second

Circuit addressed the recovery of terrorist materials possessed by one defendant, which materials

included discussion of the desirability of terrorist attacks and how to use explosives. Id. Finding

that the terrorist materials were not hearsay, the Second Circuit held that no analysis under Rule

801(d)(2)(E) (co-conspirator statements) was necessary and the evidence was admissible against

all co-conspirators. Id.; accord United States v. Aref, 285 F. App’x 784, 791 (2d Cir. 2008)

(holding that missile possessed by one defendant and “never seen” by the co-conspirator was

admissible against all members of the conspiracy.).

        For all these reasons, the 1776 Returns document is admissible.




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        This point is also germane to Rehl’s pending motion for severance, ECF 492 at 6.


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   V.      The Government’s Video Exhibits are Relevant and Admissible

        The defendants argue for the exclusion of various video exhibits that have been produced

to them by the government. For the reasons below, these arguments should be rejected.

        A. Videos of Persons Other Than Defendants

        The government intends to introduce certain videos, including United States Capitol Police

CCTV, Metropolitan Police Department body worn camera, videos taken by other rioters and

video taken by journalists at trial. Nordean contends that any videos that do not specifically capture

the defendants’ actions on January 6, 2021, are irrelevant. ECF 489 at 12. Without identifying any

proposed exhibits, Tarrio similarly objects to any videos that do not show members of the

conspiracy. ECF 491 at 3.

        In fact, the majority of the government’s proposed video exhibits depict the defendants and

their actions on January 6, 2021. The few proposed exhibits that do not capture the defendants, are

relevant because they show (1) the willingness of the defendants’ co-conspirators and the men the

defendants marched to the Capitol to engage in violence that day; (2) the results of their actions

and/or (3) that a civil disorder occurred on January 6, 2021.

               1.    The videos show the conspiracy in action via co-conspirators
                     and “tools.”

        As the government explained in its Statements Motion, ECF 475 at 4–7, 10–14, 18–19, and

in its Omnibus Motions In Limine, ECF 494 at 3–7, the actions of co-conspirators and tools of the

defendants’ conspiracy to disrupt the certification proceeding, including members of the MOSD

chat, and those who followed the defendants to the Capitol on January 6, are relevant. The actions

of these individuals are relevant because the defendants sought to gather and mobilize this group

of followers who they could then unleash during the attack on the Capitol. Accordingly, videos

that depict the actions of the defendants’ co-conspirators and tools are relevant because these




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individuals joined the defendants in their efforts to disrupt the certification proceeding, just as the

defendants intended.

       Nordean objects to videos that the government intends to introduce by individuals such as

Paul Rae, Nicholas Ochs, Christopher Worrell and Anthony Mariotta. He asserts that these videos

do “not appear to capture the defendants’ activities.” ECF 489 No. at 12. Nordean is largely

mistaken.

       The government intends to introduce four videos taken by Rae on January 6, 2021. Either

Nordean, Biggs, Pezzola, and/or Donohoe can be found in each of them. The videos by Ochs,

Worrell and Mariotta likewise depict the actions of either the defendants or their co-conspirators

and tools. For instance, a video filmed by Mariotta 11 depicts Donohoe, Pezzola, and other of the

defendants’ tools near the base of a staircase on the west plaza before it was overrun by rioters.

The other video that the government intends to introduce that was filmed by Mariotta 12 depicts

Nordean at this same location. Similarly, the video filmed by Ochs depicts Biggs as he and others,

including members of the defendants’ marching group, ascend a staircase after a line of police

officers were overrun by rioters, including other members of the defendants marching group. The

videos filmed by Worrell show this same location and depict Donohoe and other of the defendants’

tools. These videos, which capture the actions of the defendants, their co-conspirators and tools

are relevant and admissible at trial.

               2.      The videos are evidence of a “Civil Disorder”

       Count Five of the Third Superseding Indictment charges the defendants with violating 18

U.S.C. § 231 by obstructing, impeding, and interfering with, or attempting to obstruct, impede, or




11
       This video is entitled “IMG_3966.”
12
       This video is entitled “IMG_3980.”


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interfere with, law enforcement officers during the breach of the United States Capitol on January

6, 2021. To establish a violation of 18 U.S.C. § 231(c)(3), the government must prove, among

other things, that a “civil disorder” 13 existed on the date charged. 18 U.S.C. § 231(c)(3); United

States v. Red Feather, 392 F. Supp. 916, 918-19 (D. S.D. 1975). The videos that the government

seeks to introduce at trial, which depict the events of January 6, all help to establish that a public

disturbance occurred, and that this public disturbance (a) caused an immediate danger of injury to

another individual, (b) caused an immediate danger of damage to another individual’s property,

(c) resulted in injury to another individual, and (d) resulted in damage to another individual’s

property. For instance, the videos recorded by Rae depict rioters climbing scaffolding and a media

tower and entering and remaining in the Capitol building, all of which helps to establish that a civil

disorder occurred. Accordingly, these videos are relevant.

       B. Videos Edited by News Media

       Nordean next objects to the use at trial of “video clips selectively edited by the news

media.” ECF 489 at 13. Tarrio also objects to “open source hearsay videos without foundation of

any kind on the basis of relevancy,” including “media and reporter ‘hit pieces.’” ECF 491 at 6.

The full journalist montages were provided so that the defendants would be aware of the source

documents of the clips the government intends to introduce and so they can seek to introduce other

portions of the videos if they wish. But the government does not intend to show these montages

in their entirety. Instead, the government will introduce isolated and unedited video clips captured

by these journalists, without narration. For instance, the government intends to introduce a portion

of a New Yorker montage that captures Biggs traveling through the Capitol and inside of the Senate



13
       “[A]ny public disturbance involving acts of violence by assemblages of three or more
persons, which causes an immediate danger of or results in damage or injury to the property or
person of any other individual.” 18 U.S.C. § 232(1).


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Gallery. It also intends to offer a portion of a Los Angeles Times montage that captures Pezzola

robbing a United States Capitol Police officer of his shield. None of the portions selected for use

at trial contain “commentary by reporters of the events.” Id. The discrete clips of the actions of the

defendants are relevant and not unduly prejudicial. Accordingly, they are admissible.

       C. Video Montage of United States Capitol Police Footage

       The government has assembled a video montage of U.S. Capitol Police (USCP) footage

providing an overview of the riot at the Capitol on January 6. Nordean objects to this exhibit

because it depicts “property destruction, confrontations with law enforcement and assault.” ECF

389 at 13. The video depicts major breaches and representative scenes of the riot during critical

moments during the siege. As discussed above, evidence of injuries to people and property, or the

immediate danger of injuries to people are property, is required to establish that a civil disorder

occurred, as charged in Count Five. Accordingly, the Video Montage of USCP Footage, which

provides evidence of injury to law enforcement officers and property damage to the Capitol, and

as such, evidence that a civil disorder occurred at the Capitol on January 6, is relevant and

admissible. The Video Montage of USCP Footage will also provide the jurors with information

about major locations in the Capitol and enable them to contextualize the testimony that they will

see and hear about the defendants’ own actions. Any danger of prejudice to the defendants from

the jury viewing the Video Montage of USCP Footage can be cured by a limiting instruction. See,

e.g., United States v. Jensen, 21-CR-6 (TJK), ECF 89, at 3–4 (Sept. 18, 2022) (admitting relevant

videos that did not depict defendant because “any risk of such unfair prejudice can be mitigated

through a limiting instruction”) (citing United States v. Bell, 795 F.3d 88, 100 (D.C. Cir. 2015)).

       D. Congressional Record Montage

       The government has similarly prepared a Congressional Record Video Montage, made up

of recordings of events in the chambers of Congress on January 6, 2021. It does not, as Nordean


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contends, purport to instruct the jury on the law; indeed, it does not even include the law in it. ECF

No. 389 at 14. The Congressional Video Montage is a less than ten-minute video that quotes from

the Congressional Record regarding the actions of both the House and the Senate, including the

Joint Session on January 6, 2021, and includes video of the proceedings recorded by the House

and Senate recording studios.

       As it noted on its preliminary exhibit lists, the government expects to introduce Senate

Concurrent Resolution 1 and certain statutes, including 3 U.S.C. §§ 15, 16, 17 and 18, as well as

the Twelfth Amendment to the United States Constitution; it also anticipates having a witness read

portions of these exhibits into the record during testimony about the electoral college certification

process. The government does not, however, intend to ask the witnesses to opine on the laws or

provide instructions about the laws to the jury. Accordingly, Nordean’s objection to the

Congressional Video Montage should be overruled.

       E. Nordean's “Selfie” Videos

       Nordean next contends that “videos depicting Nordean intoxicated” have no relevance to

this case, and that by offering the exhibits the government seeks only to “humiliate the defendant.”

ECF 489 at 14. To the contrary, while Nordean does appear to be intoxicated in the videos, the

government intends to introduce these videos at trial because they are evidence of Nordean’s

participation and reaction to the events of January 6, 2021.

       On January 23, 2021, Nordean recorded a series of eight “selfie”-style videos, apparently

after a night of drinking, in which he boasted about being part of the attack on the Capitol. In one

of these videos, Nordean began to discuss an interaction with someone at a bar earlier in the

evening. In the next video, Nordean continued this story by describing, with evident pride, his

involvement in “storming the Capitol”:




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                Yeah, this bitch was like trying to lecture me on my life, that I was, the
                small amount of my life that I’m willing to reveal to people at my drunkest
                state. I’m just out with one of my boys getting drunk. And I’m like “you
                know, it’s so nice being able to socialize with people, fuck this Covid
                bullshit, you know?” And she’s like “Well, I’m a nurse, so you have to
                understand.” I’m like “Bitch! You don’t get it!” She doesn’t fucking get it.
                And she’s like “I feel like if you’re focus is only on socializing, then I’m,
                I’m worried about you.” “Bitch, I just, I just, I was, I was part of fucking
                storming the Capitol of the most powerful country in the – the fucking
                world. And you’re gonna lecture me on what is important right now? Shut
                the fuck up!” 14

In the next video, Nordean punctuated his remarks. Staring menacingly into the camera, Nordean

said, “Seventeen, seventy-fucking-six, bitch!” and then appeared to growl at the camera. 15

         Nordean’s admission that he “was part of fucking storming the Capitol,” is plainly relevant

to a determination of whether he agreed with others to use force to prevent the certification

proceeding that was taking place within the Capitol Building. In context, his statement further

shows that he was proud of what he had accomplished on January 6. The mere fact that Nordean

was intoxicated while he made these statements does not create a risk of prejudice, and certainly

not the kind of “unfair prejudice” that would come within shouting distance of outweighing the

probative value of his statements.

         The government provided the additional five videos of Nordean from January 23, 2021, to

provide context for the three videos described above. Given Nordean’s objection to these other

videos, the government does not intend to introduce them at trial, but will maintain them on its

exhibit list.




14
     This video is entitled “cam_4fe7d602.mp4.”
15
     This video is entitled “cam_a772a217.mp4.”


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       F. Composite Exhibits

       Nordean also objects to the government’s use of an exhibit that it has created that shows

videos of the defendants marching on January 6, 2021, along with a map that shows the geographic

location of each video and transcripts of the some of the marchers’ statements. He argues that the

probative value of the exhibit is substantially outweighed by the risk of unfair prejudice. ECF 489

at 21. Nordean is mistaken.

       On January 6, 2021, Biggs, Nordean and Rehl led a large group of men on a march from

the Washington Monument to the Capitol Building. Multiple videos, from multiple vantage points,

captured portions of this march. To enable the jurors to understand the context of the videos,

including the location of the videos being played, as well as how the videos fit together, the

government has created a visual representation of these disparate pieces of evidence. As shown

below, an embedded map shows the location depicted in the video, and the direction that the

defendants were then marching.




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       Although the line on the map simply links the locations of the videos included in the

montage, Nordean contends that it argues to the viewer that, “when the Proud Boys group was

standing near the Washington Monument on the morning of January 6, it was their goal from the

beginning to breach the Capitol Building.” ECF 489 at 21.

       The line about which Nordean complains does not imbue any intent on the defendants.

First, the location line stops at the Peace Circle. A line that does not show that the defendants on

restricted Capitol Grounds — much less inside the Capitol building — cannot possibly express the

defendants’ intent to “breach the Capitol Building.” Moreover, as seen below, at one point, the

line shows the defendants’ marching group walking away from the Capitol.




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       Nordean does not claim that any of the information contained in the march exhibit is

irrelevant, nor could he make such a claim. The exhibit shows Biggs, Nordean and Rehl marching

their co-conspirators and tools of their conspiracy to the Capitol while they exercised control over

the group and riled them up. Under Rule 403, relevant evidence may only be excluded where its

“probative value is substantially outweighed” by countervailing factors such as “unfair prejudice,

confusing the issues or misleading the jury.” Fed. R. Evid. 403 (emphasis added). A line on a map

that shows the path the defendants marched on January 6 is not prejudicial and certainly does not

clear the “high barrier to justify the exclusion of relevant evidence.” United States v. Lieu, 963

F.3d 122, 128 (D.C. Cir. 2020).




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                                      CONCLUSION

       For the foregoing reasons, and any that may be presented during future argument before

ethe Court, the Court should deny the Defendant’s Omnibus Motion In Limine.

                                          Respectfully submitted,

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